       Case 1:18-bk-11919-MB                    Doc 41 Filed 08/20/18 Entered 08/20/18 11:47:09                         Desc
                                              van21:Ord Dism(odspb) Page 1 of 1
Form odspb−odspab/autodismi
Rev. 06/2017

                                              United States Bankruptcy Court
                                                Central District of California
                                           21041 Burbank Blvd, Woodland Hills, CA 91367−6603

                          ORDER AND NOTICE OF DISMISSAL FOR
                  FAILURE TO FILE SCHEDULES, STATEMENTS AND/OR PLAN
    DEBTOR INFORMATION:                                                             BANKRUPTCY NO. 1:18−bk−11919−MB
    Juan Rene Mejia
                                                                             CHAPTER 7
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): xxx−xx−7845
    Employer Tax−Identification (EIN) No(s).(if any): N/A
    Debtor Dismissal Date: 8/20/18


    Address:
    13775 Judd Street
    Pacoima, CA 91331−3631


It appearing that the debtor(s) in the above−captioned case has failed to file all the documents required under FRBP 1007 or
3015(b) within 14 days after the filing of the petition and no motion for an order extending the time to file the required documents
has been timely filed in accordance with FRBP 1007(a)(5) or 3015(b),


       IT IS HEREBY ORDERED THAT:

       1)      The case is dismissed.

       2)      The automatic stay is vacated.

       3)      Any discharge entered in this case is vacated.

       4)      The Court retains jurisdiction on all issues involving sanctions, any bar against being a debtor in bankruptcy, all
               issues arising under Bankruptcy Code §§ 105, 109(g), 110, 329, 349, and 362, and to any additional extent
               provided by law.




                                                                                  By the Court,
Dated: August 20, 2018                                                            Kathleen J. Campbell
                                                                                  Clerk of Court




Form odspb−odspab/autodismi Rev. 06/2017                                                                                    41 / AUT
